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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

MARION VAUGHAN,

         Plaintiff,

v.                                                                   2:24-cv-406-JES-NPM

RTR FINANCIAL SERVICES INC,

         Defendant.


                       SOLICITATION OR DEBT COLLECTION
                        FAST-TRACK SCHEDULING ORDER
         Consistent with the just, speedy, and inexpensive administration of justice and

pursuant to Rule 16, the Court finds it necessary to implement a schedule tailored to

meet the particular circumstances of a case brought under one or more of the

following statutes: the Telephone Consumer Protection Act (as amended by the Junk

Fax Prevention Act) (TCPA); the Fair Debt Collection Practices Act (FDCPA); the

Real Estate Settlement Procedures Act (RESPA), the Florida Consumer Collection

Practices Act (FCCPA); and/or other state law consumer protection statutes. All

parties must comply immediately with Rule 7.1 and Local Rule 3.03 to file a

Disclosure Statement using the form available on the presiding judge’s webpage.

         It is ORDERED that all 1 discovery—except as provided in this Order—is

STAYED pending compliance with the following deadlines:


1
    The stay encompasses the requirements for Rule 26(a)(1)’s initial disclosures, a Rule 26(f)
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       1.      Within SIXTY (60) DAYS of this Scheduling Order, Plaintiff 2 must

serve on Defendant all documents in Plaintiff’s possession, custody, or control that

relate to the telephone calls, faxes, text messages, letters, or other debt-

collection/solicitation activities in question including (but not limited to):

            a. telephone records, call logs, facsimile confirmations, voice recordings,

               and account notations for any telephone calls, faxes, or text messages

               Plaintiff contends Defendant made;

            b. documents showing that Plaintiff had the applicable telephone at the

               time Defendant allegedly made the telephone calls or texts in question;

            c. documents showing that Plaintiff either (i) did not consent to Defendant

               making the telephone calls or sending the text messages or faxes in

               question; and/or (ii) revoked consent before Defendant made those

               telephone calls, or sent the text messages or faxes;

            d. documents of Plaintiff’s prior complaints to Defendant about

               Defendant making the unwanted telephone calls, texts, or faxes; and

            e. for debt-collection cases, all correspondence and court documents

               pertaining to Defendant’s alleged debt-collection efforts.

       2.      Within SIXTY (60) DAYS of this Scheduling Order, Defendant must



discovery conference, and the filing of a Local Rule 3.02(a) case management report. The parties
are free to stipulate to exchanging Rule 26(a)(1) initial disclosures on their own.
2
  If there is more than one plaintiff or defendant, the singular reference to plaintiff or defendant
includes the plural.
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simultaneously serve on Plaintiff all documents in Defendant’s possession, custody,

or control that relate to the telephone calls, faxes, text messages, letters, or other

debt-collection/solicitation activities in question, including (but not limited to):

           a. telephone records, facsimiles, call logs, and voice recordings about the

               telephone calls Plaintiff contends Defendant made, including notations

               made by Defendant’s representative or employee during the telephone

               call(s);

           b. documents showing Plaintiff consented to Defendant making the

               telephone calls, sending the text messages, or faxes in question;

           c. documents pertaining to Plaintiff’s prior complaints to Defendant about

               Defendant making the unwanted telephone calls, sending the unwanted

               text messages, or faxes; and

           d. for debt-collection cases, all correspondence and court documents

               pertaining to Defendant’s alleged debt-collection efforts.

      3.       Counsel may serve subpoenas on telecommunications entities so

accurate information may be gathered. If the parties serve subpoenas for telephone

records, they should do so as early as possible and should work together to facilitate

the process.

      4.       On or before August 1, 2024, Plaintiff must file and serve its

VERIFIED Answers to the Court’s Interrogatories. Then on or before August 15,

2024, Defendant must file and serve its VERIFIED Answers to the Court’s
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Interrogatories. The Interrogatories are available on the presiding judge’s webpage

and must be filed with the Court entitled “Notice of Filing Answers to Court’s

Interrogatories.”

      5.      On or before September 16, 2024 the parties shall file any motions to

add or join parties, or amend the pleadings.

      6.      This action is REFERRED to mediation. The mediation must be

conducted as outlined in this Order and pursuant to Chapter 4 of the Local Rules as

follows:

           a. Scheduling Mediation: The parties must mediate no later than October

              14, 2024. Neither party may cancel or reschedule a mediation

              conference without the Court’s permission. Motions to extend the

              mediation deadline are strongly disfavored and will be granted only in

              extraordinary circumstances. Unless otherwise agreed, the parties must

              bear the mediation expenses equally and pay immediately after the

              mediation.

           b. General Rules on Mediation: (1) The parties must designate a mediator

              and indicate whether the mediator is certified; (2) The parties must

              establish a mediation deadline as outlined above; (3) Lead counsel must

              confirm a mediation date agreeable to the mediator, and the parties must

              notify the presiding judge of the date by filing a Notice of Mediation at

              least FOURTEEN (14) DAYS before the mediation conference; (4)
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             Lead counsel, the parties, or a party’s surrogate satisfactory to the

             mediator, and any necessary insurance carrier representative must

             attend mediation; (5) Any unexcused absence or departure from

             mediation is sanctionable; (6) The mediator must report the result of the

             mediation and whether all required persons attended mediation within

             SEVEN (7) DAYS of the mediation taking place; and (7) The substance

             of the mediation is confidential and no party, lawyer, or other

             participant is bound by, may record, or without approval of the Court

             may disclose any event, including any statement confirming or denying

             a fact—except settlement—that occurs during the mediation.

      7.     If the case does not settle, then the parties must file—within SEVEN

(7) DAYS of the mediation—the Solicitation or Debt Collection Fast-Track Case

Management Report available on the presiding judge’s webpage. Upon filing the

Case Management Report, the discovery stay expires. After reviewing the Fast-

Track Case Management Report, the Court will hold a preliminary pretrial

conference. Lead counsel must appear in person and be prepared to discuss the

claims, defenses, and other aspects of the case. This case will be set for trial about

eight months after the mediation conference.

      8.     The parties may consent to litigate this matter before the assigned

Magistrate Judge by filing an AO 85 form available on the Court’s website. Any

party may withhold consent with no adverse consequences.
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                                ORDERED on May 3, 2024.




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